                                                                                                               Case 1:15-cv-06119-AJN-JLC Document 381-38 Filed 06/19/17 Page 1 of 1

TO:          Howard Milstein/Edward Milstein/Michael Milstein
FROM:        Amy Gould
CC.          Tony Bergamo, Steve Dolnick, Lorraine Doyle, Anna Seddio, Alva Acosta, Steve Rossi,
             Clive Spagnoli, Angela Vigorito, Vernon Jefferson, Jeff Epstein, Keri Constable, Oneeka Williams, Cynthia Howard
DATE:        August 10, 2012


                                          LEGAL ACTION UPDATE REPORT
                                               AMOUNT        # OF MONTHS          CURRENT
APT          TENANT                           SUED FOR         SUED FOR           O/S RENT      STATUS




200 RECTOR PLACE -
6B      DA   GUPTA                              $9,293             2+              $9,293       3 DAY TO LAW FIRM 8/10


24D     DA   LINES                             $13,145             3+              $17,312      WARRANT ORDERED 7/26 - SIGNED STIP - STIP PAYMENTS TO MADE PER SHEET 2


34B     DA   COVELLO                           $11,500             2+              $11,500      3 DAY TO LAW FIRM 8/10




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